      Case 3:22-cv-01100-B-BN Document 6-1 Filed 06/07/22                                 Page 1 of 5 PageID 68

June 7, 2022

Dear Josefina Chemello:

The following is in response to your request for proof of delivery on your item with the tracking number:
9415 5112 0254 0568 9859 61.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     May 23, 2022, 12:52 pm
Location:                                               DALLAS, TX 75202
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic
Recipient Name:                                         U S Attorney Chad Meacham
Shipment Details

Weight:                                                 9.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
      Case 3:22-cv-01100-B-BN Document 6-1 Filed 06/07/22                                 Page 2 of 5 PageID 69

June 7, 2022

Dear Josefina Chemello:

The following is in response to your request for proof of delivery on your item with the tracking number:
9415 5112 0254 0568 9812 91.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     May 23, 2022, 11:30 am
Location:                                               IRVING, TX 75063
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic
Recipient Name:                                         Will Bierman
Shipment Details

Weight:                                                 7.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
      Case 3:22-cv-01100-B-BN Document 6-1 Filed 06/07/22                                 Page 3 of 5 PageID 70

June 7, 2022

Dear Josefina Chemello:

The following is in response to your request for proof of delivery on your item with the tracking number:
9415 5112 0254 0568 9674 93.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     May 25, 2022, 6:45 am
Location:                                               WASHINGTON, DC 20529
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic
Recipient Name:                                         Ur Mendoza Jaddou
Shipment Details

Weight:                                                 11.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
      Case 3:22-cv-01100-B-BN Document 6-1 Filed 06/07/22                                 Page 4 of 5 PageID 71

June 7, 2022

Dear Josefina Chemello:

The following is in response to your request for proof of delivery on your item with the tracking number:
9415 5112 0254 0568 9800 41.

Item Details

Status:                                                 Delivered, PO Box
Status Date / Time:                                     May 23, 2022, 1:22 pm
Location:                                               LEES SUMMIT, MO 64002
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic
Recipient Name:                                         Terri Robinson USCIS
Shipment Details

Weight:                                                 7.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
      Case 3:22-cv-01100-B-BN Document 6-1 Filed 06/07/22                                 Page 5 of 5 PageID 72

June 7, 2022

Dear Josefina Chemello:

The following is in response to your request for proof of delivery on your item with the tracking number:
9415 5112 0254 0568 9615 69.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     May 26, 2022, 4:56 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt
                                                        Return Receipt Electronic
Recipient Name:                                         Attorney General Merrick Garland
Shipment Details

Weight:                                                 9.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
